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MARK D. ROSENBAUM, SBN 59940
mrosenbaum@aclu-sc.or
PETER ELIASBERG, SBN 189110
peliasberg @aclu-sc.ore:
ELINDA BIRD, SBN 102236
tnbird@aclu-se.or
OUNDATION OF SOUTHERN

CALIFORNIA
1313 W. 8th Street
Los Angeles, California 90017
Telephone: (213) 977-9500, x219
Facsimile: (213) 977-5297

|| MARGARET WINTER
|| ACLU NATIONAL PRISON PROJECT

915 15" Street NW, 7" Floor
Washington, D.C. 20005

|| Telephone: (202) 548-6605

Facsimile: (202) 393-4931

|| E-mail: mwinter@npp-aclu.org

|| Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA -

DENNIS RUTHERFORD, et al, Case No. Civ. 75-04111-DDP

Plaintiffs,

DECLARATION OF MELINDA BIRD
IN SUPPORT OF PLAINTIFFS’
MOTION FOR PRELIMINARY
INJUNCTION RE: PLAN FOR
CLOSURE OF JAIL FACILITIES

VS.

LEROY BACA, as Sheriff of the
ANTONOVICH, YVONNE B. Honorable Dean Pregerson
BURKE, DON KNABE, GLORIA
MOLINA, ZEV YAROSLAVSKY, as
Supervisors of the County of Los
Angeles, et al.,

Date: August 3, 2009
Time: 10:00 a.m.
Dept: 3

Defendants.

 

 

 
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DECLARATION OF MELINDA BIRD

I, MELINDA BIRD, declare and affirm and would so testify from first hand
knowledge if called as a witness:

l. I am Senior Counsel for the American Civil Liberties Union of Southern
California (ACLU), and am one of the counsel for plaintiffs in this case.

2. On June 30, 2009, I met with Paul Beach and representatives of the Los
Angeles County Sheriff's Department. Mr. Beach is the lead attorney representing
Sheriff Lee Baca and the County Board of Supervisors, who are the defendants in this
matter. At the meeting, we discussed Sheriff Baca’s announcement that he planned to
close a jail facility at Pitchess Detention Center. The Department representatives told
us that they had a plan to manage the closure, but refused to provide us with a copy of
the plan. The Department representatives told us that the closure would not result in
overcrowding at any other facilities but did not explain how this would happen. On
July 1, I wrote to Mr. Beach, asking that he and his client reconsider the decision not
to provide us with a copy of the plan for the facility closure. I did not receive a
response or acknowledgement to this letter.

3. On July 8, 2009, I gave Mr. Beach notice by letter that we intended to
seek a preliminary injunction order regarding the proposed closure of the North
Facility at Pitchess Detention Center. Exhibit 1 is a true copy of this letter, which
included my July 1 letter as an attachment. On Sunday, July 12, 2009, Mr. Beach
sent me a letter in reply, in which he stated that closure of the North Facility was
“speculative.” A true copy of his letter is attached as Exhibit 2.

4. On a number of occasions, the ACLU has asked the Board of Supervisors
and the Sheriff to reduce the size of the jail system and close jail beds by (a)
increasing programs for supervised pre-trial release of non-violent detainees who are
awaiting trial but cannot make bail, (b) improved discharge planning especially for
inmates with mental illness who have a very high rate of re-arrest (as much as 95%

according to one USC study), and (c) faster processing of defendants to shorten length

 

Declaration of Melinda Bird 1

 
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of stay in the jail. Attached as Exhibits 3 and 4 are true copies of two letters which I
sent to the Board in 2007 and in 2009, raising these issues and including information
about programs in New York, where the local jurisdiction reduced its jail population
from 22,000 to 13,000 without any negative impact on public safety.

5, The Countywide Criminal Justice Coordinating Committee (CCJCC) is a
county body that includes members of most stakeholders in the criminal justice
system, including superior court judges, the district attorney, the public defender and
the Sheriff. I have attended the monthly public meetings and receive copies of the -
notes and minutes from every CCJCC meeting, which I review each month. In April
2008, CCJCC created a jail overcrowding subcommittee which is not open to
members of the public. This committee recommended that the County hire a
consultant to study overcrowding and in September 2008, the County implemented

this proposal by issuing a request for proposals for a consultant to prepare a

|| population management study and make recommendations to reduce overcrowding.

The County awarded the contract to the Vera Institute of Justice in early 2009. The
Vera Institute is not scheduled to release any public findings or recommendations

regarding jail overcrowding until the end of its contract, which runs for two years, that

jis, until early 2011.

6. Attached as Exhibit 5 is a true copy of an earlier pleading filed in this
case: Memorandum of Understanding; Court Approval Thereof, filed November 13,
1985 (Docket No. 463).

7. Attached as Exhibit 6 is a true copy of an earlier pleading filed in this
case: Jail Management Plan and Order, filed May 27, 1988 (Docket No. 506).

I declare under penalty of perjury under the Laws of California that the
foregoing is true and correct to the best of my knowledge and belief. Executed this
13" day of July, 2009 in Los Angeles, ORLA

Melinda Bird

 

 

Declaration of Melinda Bird 2
